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                          UNITED STATES BANKRUPTCY COURT
                           SOUTHERN DISTRICT OF FLORIDA
                                  www.flsb.uscourts.gov

In re:                                                        Chapter 7

GENEREX BIOTECHNOLOGY CORP,                                   Case No. 22-13166-PDR

                Debtor.
                                           /

                                 CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that a true and correct copy of the Involuntary Petition Against a

Non-Individual [ECF No. 1]; Notice of Appearance and Request for Service of Pleadings and

Other Papers [EFC No. 2]; Notice of Filing Corporate Ownership Statements of Petitioning

Creditors [ECF No. 3] was furnished on April 26, 2022, via electronic mail to all parties listed on

the attached service list, and that on May 2, 2022, a copy of those documents as well as the

Summons to Debtor in Involuntary Case [ECF No. 4] was served via Certified U.S. Mail upon the

Debtor.

         I am admitted to the Bar of the United States District Court for the Southern District of

Florida and I am in compliance with the additional qualifications to practice in this Court set forth

in Local Rule 2090-1 (A).

                                               Respectfully submitted,

                                               MILLENNIAL LAW, INC.
                                               501 East Las Olas Blvd, Suite 200/308
                                               Fort Lauderdale, Florida 33301
                                               Phone: 954-271-2719

                                               By: s/ Zachary P. Hyman
                                                    Zachary P. Hyman
                                                    Florida Bar No. 98581
                                                    zach@millenniallaw.com
                                                    jessica@millenniallaw.com
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                             CERTIFICATE OF SERVICE

      I HEREBY CERTIFY that a true and correct copy of the foregoing was served on this

11th day of May, 2022, via the Court’s CM/ECF system.

                                         By: s/ Zachary P. Hyman
                                              Zachary P. Hyman



                                    SERVICE LIST

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